         Case 2:12-cr-00315-JAM Document 366 Filed 03/15/16 Page 1 of 2




 1   WILLIAM J. PORTANOVA, State Bar No. 106193
     Attorney at Law
 2
     400 Capitol Mall, Suite 1100
 3   Sacramento, CA 95814
     Telephone: (916) 444-7900
 4   Fax: (916) 444-7998
     Portanova@TheLawOffices.com
 5

 6
     Attorney for John Hagener
 7

 8                               UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,           )                Case No. 2:12-CR-00315 JAM
                                         )
12
                       Plaintiff,        )                STIPULATION AND
13                                       )                ORDER CONTINUING JUDGMENT
          v.                             )                AND SENTENCING
14                                       )
     JOHN HAGENER,                       )                Date: May 3, 2016
15
                                         )                Time: 9:00 a.m.
16                     Defendants.       )                Judge: Hon. John A. Mendez
     ____________________________________)
17

18          With the Court’s permission, plaintiff United States of America, by and through its
19   counsel, Assistant United States Attorney Paul Hemesath, and defendant John Hagener, by and
20   through his attorney, William J. Portanova, hereby stipulate that the date for Judgment and
21   Sentencing, now set for May 3, 2016, at 9:15 a.m. be continued to November 1, 2016, at 9:15
22   a.m. and that the following schedule for disclosure of the Pre-Sentence Report and the filing of
23   objections be adopted:
24          Judgment and Sentencing Date:                                November 1, 2016
25          Reply or Statement of Non-Opposition:                        October 25, 2016
26          Motion for Correction of the Pre-Sentence Report
            shall be filed with the court and served on the
27
            Probation Officer and Opposing Counsel:                      October 18, 2016
28

     STIPULATION AND [PROPOSED] ORDER CONTINUING JUDGMENT AND SENTENCING
     2:12-CR-00315 JAM
         Case 2:12-cr-00315-JAM Document 366 Filed 03/15/16 Page 2 of 2




 1            Pre-Sentence Report Shall be Filed with the Court
              and Disclosed to Counsel:                                  October 11, 2016
 2

 3            Counsel’s Written Objections to the Pre-Sentence
              Report Shall be Delivered to the Probation Officer
 4            and Opposing Counsel:                                      October 4, 2016
 5
              The Proposed Pre-Sentence Report Shall be
 6            Disclosed to Counsel:                                      September 20, 2016

 7
              This continuance is necessary as the U.S. Attorney is likely using John Hagener as a
 8
     witness in co-defendant’s upcoming trials and is requesting a later date.
 9

10
     IT IS SO STIPULATED.
11

12
     Dated:          March 14, 2016                       /s/ William J. Portanova
13                                                        ___________________________________
14
                                                          WILLIAM J. PORTANOVA
                                                          Attorney for John Hagener
15

16   Dated:          March 14, 2016
                                                          /s/ Paul Hemesath
17                                                        ___________________________________
18
                                                          PAUL HEMESATH
                                                          Assistant United States Attorney
19

20
     IT IS SO ORDERED.
21

22   Dated: 3/14/2016                                     /s/ John A. Mendez____________
                                                          THE HON. JOHN A. MENDEZ
23
                                                          United States District Court Judge
24

25

26

27

28

     STIPULATION AND [PROPOSED] ORDER CONTINUING JUDGMENT AND SENTENCING
     2:12-CR-00315 JAM
